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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )             CASE NO. 8:02CR21
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                   ORDER
                                            )
DALE R. HERMAN,                             )
                                            )
             Defendant.                     )

       This matter is before the Court on the Plaintiff’s unopposed motion to continue

sentencing (Filing No. 294).

       IT IS ORDERED that the Plaintiff’s motion to continue sentencing (Filing No. 294)

is denied.

       DATED this 19th day of August, 2005.

                                        BY THE COURT:

                                        s/Laurie Smith Camp
                                        United States District Judge
